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  12
                            UNITED STATES DISTRICT COURT
  13
                          CENTRAL DISTRICT OF CALIFORNIA
  14

  15   TERESA TURNER, INDIVIDUALLY               Case No. 2:25-CV-00334-FMO-PD
       AND ON BEHALF OF ALL OTHERS
  16   SIMILARLY SITUATED,
  17                                Plaintiff,   DEFENDANT NATIONAL NOTARY
                                                 ASSOCIATION’S MOTION TO STAY
  18         v.                                  DISCOVERY; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES IN
  19   NATIONAL NOTARY                           SUPPORT; [PROPOSED] ORDER
       ASSOCIATION,
  20                                             Judge:    Fernando M. Olguin
                                 Defendant.
  21                                             Hearing: June 12, 2025
                                                 Time: 10:00 AM
  22                                             Ctrm: 6D
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                                                               CASE NO.: 2:25-CV-00334-FMO-PD
  30                   NOTICE OF MOTION AND MOTION TO STAY DISCOVERY;
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   1          NOTICE OF MOTION AND MOTION TO STAY DISCOVERY
   2         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that on June 12, 2025 at 10:00 AM, or as soon
   4   thereafter as the matter may be heard, before the Honorable Ferando M. Olguin, in
   5   Courtroom 6D of the above-entitled Court, located at First Street Courthouse, 350
   6   W. First Street, Los Angeles, CA 90012, Defendant National Notary Association
   7   (“NNA” or “Defendant”), by and through its attorneys of record, will and hereby do
   8   move for an order staying discovery until decision on Defendant’s pending motion
   9   to dismiss pursuant to Rules 12(b)(1) and (6) of the Federal Rules of Civil Procedure
  10   (“FRCP”).
  11          The Court should stay discovery until it issues a ruling on Defendant’s
  12   Motion to Dismiss (the “Motion”) (Dkt. No. 14). Under the Ninth Circuit’s two-part
  13   test, a short stay of discovery is warranted because Defendant’s Motion is potentially
  14   dispositive of the entire case and can be decided without further discovery.
  15         This motion is based upon the following memorandum of points and
  16   authorities, the proposed order, the complete files and records in this action, the
  17   argument of counsel, and any other matters the Court may consider.
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                                              ii               CASE NO.: 2:25-CV-00334-FMO-PD
  30                      NOTICE OF MOTION AND RULE 12 MOTION TO DISMISS;
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   1          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.3
   2         This motion is made following the conference of counsel pursuant to L.R. 7-
   3   3, which took place on May 7, 2025. The parties conducted an informal discovery
   4   conference with Magistrate Judge Donahue on May 13, 2025.
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   1   I.    INTRODUCTION1
   2         This case tests the outer limits of the federal Video Privacy Protection Act
   3   (“VPPA”), 18 U.S.C. § 2710. Plaintiff Teresa Turner’s (“Turner” or “Plaintiff”)
   4   Complaint asserts a VPPA claim against the National Notary Association
   5   (“NNA”), who by Turner’s own account is a “not-for-profit corporation” that is the
   6   “largest and oldest organization in the United States serving notaries and training
   7   persons to be notaries through certifications, training, seminars, conferences, and
   8   printed and online educational materials.” Compl. ¶ 14. Turner is a professional
   9   notary who actively promotes her association with the NNA and the Loan Signing
  10   Agent certification she obtained from the NNA. Mot. at 4.
  11         The NNA’s underlying Motion to Dismiss [ECF No. 14] is a Fed. R. Civ. P.
  12   12(b)(1) factual challenge and 12(b)(6) legal challenge which demonstrates that
  13   Turner has no plausible claim based on the NNA’s alleged disclosure of her Loan
  14   Signing Agent certification. Mot. at 6-12. Not only does the NNA’s Motion
  15   unequivocally demonstrate that the alleged disclosure never occurred, but the
  16   certification course is not “private” because she herself has published that
  17   information across the internet. Mot. at 12-13, 15-19. Additionally, Turner’s own
  18   allegations demonstrate that the NNA is not a “video tape service provider,” which
  19   is a necessary element of a VPPA claim. Last, the alleged website code is disclosed
  20   is not readily identifiable by an “ordinary person.” Solomon v. Flipps Media, Inc.,
  21   No. 23-7597-CV, 2025 WL 1256641 (2d Cir. May 1, 2025)
  22         Each of the issues are fully dispositive, do not require discovery, and cannot
  23   be cured by amendment.2 This Court should put a brief pause on burdensome and
  24   sweeping putative class discovery while it resolves the substantial bases for
  25
       The NNA’s Motion to Dismiss [ECF No. 14] is cited as “Motion” or “Mot.”
       1
  26 Turner’s Opposition [ECF No. 26] is cited as “Opposition” or “Opp.” The NNA’s
     reply brief [ECF No. 28] is cited as “Reply.”
  27 2
       Notably, Turner’s Opposition does not argue that discovery is necessary to resolve
  28 the NNA’s Motion.
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   1   dismissal raised in the NNA’s Motion.
   2         Last, as explained below, the balance of equities and the efficient
   3   administration of justice strongly favors a stay. The Court has taken the Motion
   4   under submission. [ECF No. 30]. While the NNA is mindful of the Court’s busy
   5   calendar, the Motion being under submission means the time for disposition is
   6   uncertain. A stay pending resolution would prevent wasted resources, while creating
   7   no prejudice to Turner for a short delay. Accordingly, Defendant respectfully
   8   requests a stay on discovery until the Court resolves its Motion.
   9   II.   FACTUAL BACKGROUND
  10         A.     Procedural History
  11         Plaintiff, on behalf of herself and other similarly situated, filed her Complaint
  12   on January 13, 2025. [ECF No. 1]. On March 7, 2025, Defendant filed its Rule 12
  13   Motion to Dismiss. [ECF No. 14]. On April 7, 2025, this Court entered a case
  14   management order stating that: “[t]he parties should note that absent exceptional
  15   circumstances, discovery shall not be stayed while any motion is pending,
  16   including any motion to dismiss or motion for protective order.” [ECF No. 25 at 2
  17   [(emphasis in original)].
  18         The NNA’s Motion was fully briefed as of April 17, 2025. [ECF Nos. 27, 28].
  19   The Court originally set the Motion for hearing on May 1, 2025, but on April 28,
  20   2025, removed the Motion from the calendar and placed it under submission. [ECF
  21   No. 30]. On May 2, 2025, the Court extended the United States’ deadline to intervene
  22   to June 30, 2025. [ECF No. 32]. On May 13, 2025, the Parties’ conducted a discovery
  23   conference with Magistrate Judge Donahue.
  24         B.     Plaintiff’s Discovery Requests
  25         On April 14, 2025, Turner served her First Requests for Production and First
  26   Set of Interrogatories to Defendant. See Plaintiff’s First Set of Discovery, attached
  27   hereto as Exhibit A. Turner also issued two third-party subpoenas.
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   1            The discovery to NNA makes broad requests for documents including
   2   requests for all information provided to Meta that meets the Turner’s definition of
   3   “Personal Information” and all contracts between Defendant and Meta. For example,
   4   the requests include:
   5         Request for Production No. 2: All documents, communications, and
             ESI concerning Your transmission of any Person’s Personal
   6
             Information to Meta.
   7
             Request for Production No. 3: All contracts, agreements, statements
   8
             of work, work orders, order forms, or the like exchanged between You
   9         (or any other party acting on Your behalf) and Meta concerning Your
             use of the Metal Pixel or Your transmission of Personal Information to
  10
             Meta.
  11
             Request for Production No. 6: Documents, communications, and ESI,
  12
             showing all the Personal Information that was shared with Meta via the
  13         Meta Pixel on Your Website.
  14
             Request for Production No 8: Website code, technical documentation,
  15         technical papers, and computer source code sufficient to show the
  16
             manner in which Your Website operated to collect and transmit Your
             customers’ Personal Information by or through the Meta Pixel and its
  17         underlying events and parameters installed on Your website.
  18
             Request for Production No. 12: All documents, communications, and
  19         ESI sufficient to identify all the Persons who requested or obtained
  20         video materials or other services from You and whose Personal
             Information was transmitted to Meta, specifically including those
  21         individuals’ names and email addresses.
  22   Ex. A.
  23         These requests seek an overwhelming amount of information, including
  24   Defendant’s website and source code, confidential business information, and private
  25   information about the NNA’s customers. The discovery is not limited to Turner’s
  26   interactions with the NNA’s Website; rather, the discovery seeks broad information
  27   about “all the Persons” who interacted with the NNA’s Website. See RFP Nos. 2,
  28   12. The NNA’s responses and objections are due on May 29, 2025.
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   1   III.   LEGAL STANDARD
   2          This Court has broad discretion to stay discovery. See Little v. City of Seattle,
   3   863 F.2d 681, 685 (9th Cir. 1988). “The Ninth Circuit has not provided a clear
   4   standard for district courts to apply when determining whether it is appropriate to
   5   stay discovery pending the outcome of a potentially dispositive motion.”
   6   Quezambra v. United Domestic Workers of Am. AFSCME Loc. 3930, 2019 WL
   7   8108745, at *2 (C.D. Cal. Nov. 14, 2019). However, courts in this District apply a
   8   two-part test that finds a stay appropriate when (1) a motion to dismiss is potentially
   9   dispositive of the entire case and (2) the motion can be decided absent additional
  10   discovery. Luna v. Girgis, No. 221CV09765FWSAFM, 2022 WL 3012167 (C.D.
  11   Cal. June 30, 2022) (Slaughter, J.). The NNA meets both factors.
  12   IV.    ARGUMENT
  13          This Court should grant a stay of discovery pending its resolution of the
  14   NNA’s motion to dismiss because the NNA satisfies the Ninth Circuit’s two-part
  15   test. See § IV(A), infra. Alternatively, this Court should grant a stay under Fed. R.
  16   Civ. P. 26(c)’s “good cause” standard. See § IV(B), infra.
  17          A.     Discovery Should Be Stayed.
  18            i.   The Motion to Dismiss is Potentially Dispositive of the Entire Case.
  19          Where a motion to dismiss is pending, courts may “take a preliminary peek at
  20   the merits . . . to see if on its face there appears to be an immediate and clear
  21   possibility that it will be granted.” Bride v. Snap Inc., No. 221CV06680FWSMRW,
  22   2022 WL 17184600, at *2 (C.D. Cal. Oct. 21, 2022). A motion is potentially
  23   dispositive where all of the claims in the complaint would be subject to dismissal if
  24   the motion were granted, regardless of the ability to amend. See Reveal Chat Holdco,
  25   LLC, 2020 WL 2843369 at*3 (“[o]n a motion to stay discovery . . . the question is
  26   only whether [defendant’s] motion to dismiss is ‘potentially dispositive of the entire
  27   [case].’”(citation omitted)). As explained in Tradin Organics USA LLC v. Terra
  28
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   1   Nostra Organics, LLC, No. 23-CV-03373-AMO, 2023 WL 8481814, at *2 (N.D.
   2   Cal. Dec. 7, 2023):
   3         [t]he fact that Plaintiff could possibly remedy any deficient allegations
             with leave to amend is not germane to the question before the Court on
   4
             a motion to stay discovery: whether Defendants’ motion is potentially
   5         dispositive of the entire case.
   6   (emphasis added).
   7         Turner’s Complaint asserts a single claim of the VPPA. The crux of her claim
   8   is that the NNA violated the VPPA by disclosing “private video information” to a
   9   third-party via the NNA’s use of a ubiquitous website analytical tool called a Meta
  10   Pixel. Compl. ¶¶ 1-3. The specific information that Turner claims is private video
  11   information is a course she purchased from the NNA’s website. Compl. ¶ 9. The
  12   NNA’s investigation revealed that Turner’s purchase from the NNA was a Loan
  13   Signing Agent certification course (Turner does not dispute this). Mot. at 5. The
  14   NNA’s investigation also revealed that Turner promotes her Loan Signing Agent
  15   certification and affiliation with the NNA across the internet – on her website, on
  16   LinkedIn, and on Facebook. Mot. at 5. Turner does not dispute this either.
  17         First, the NNA’s Motion raises a factual Rule 12(b)(1) challenge. Under that
  18   challenge, Turner must prove she has an Article III injury-in-fact by showing that
  19   she actually suffered a violation of the specific and narrow privacy right enshrined
  20   by the VPPA. Mot. at 2, 7-13. But, Turner could never demonstrate that injury-in-
  21   fact under the VPPA for three distinct reasons:
  22      1. The very course from the NNA that she claims is “private video
  23         information” was never disclosed by the NNA to Meta;

  24      2. Turner cannot demonstrate a privacy interest in the alleged course that
             she claims is “private video information” (titled “NSA Certification
  25
             Training and Exam”) because Turner voluntarily published that exact
  26         information across the internet to promote her business interests as a
             Notary; and
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   1      3. Turner cannot demonstrate a privacy injury based on the NNA’s alleged
   2         disclosure to Meta, because she herself disclosed her NSA certification
             to Meta by posting that information on her Facebook profile (Meta
   3         owns Facebook).
   4   Mot. at 2; 7-13; Reply at 1-2 [ECF No. 28].
   5         Even if Turner could defeat the Rule 12(b)(1) challenge to her standing, her
   6   single VPPA claim fails as a matter of law for a variety of reasons. Primarily, the
   7   NNA is not a Video Tape Service Provider (“VTSP”). Mot. at 15-18. As
   8   organization is a VTSP only if delivering covered video content is its “defining
   9   feature” and “focus.” Rodriguez v. JP Boden Servs. Inc., No. 23-CV-00534-L-VET,
  10   2024 WL 559228, at *4 (S.D. Cal. Feb. 12, 2024). However, by Turner’s own
  11   admission the NNA is a “not-for-profit corporation” who offers “certifications,
  12   training, seminars, conferences, and printed and online educational materials.”
  13   Compl. ¶14. See Markels v. AARP, 689 F. Supp. 3d 722, 728 (N.D. Cal. 2023)
  14   (finding that the AARP is not VTSP because “providing video content [was not] a
  15   substantial or significant purpose of AARP”).
  16         Next, the alleged disclosure occurred through a string of computer code which
  17   is not information that would readily permit an ordinary person to identify that
  18   Turner requested covered video material from the NNA. Mot at 20-21; see Solomon,
  19   2025 WL 1256641, at *7 (following Eichenberger v. ESPN, Inc., 876 F.3d 979, 984
  20   (9th Cir. 2017)).
  21         Finally, Turner’s Complaint attempts to extend the VPPA far beyond its
  22   intended scope in a manner that violates Due Process and the First Amendment. Mot.
  23   at 22-24.
  24         Each of the foregoing arguments are potentially dispositive of the entire case,
  25   and, therefore, a stay is appropriate. See Quezambra, 2019 WL 8108745, at *2
  26   (“Defendants’ motions to dismiss are potentially dispositive of the entire case as they
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   1   raise arguments related to Article III standing, the adequacy of [plaintiff’s] pleading,
   2   and [plaintiff’s] ability to state a claim based on her allegations.”).
   3           ii.   The Motion Can be Decided Absent Discovery
   4         No discovery is required to decide the NNA’s Motion, thereby satisfying the
   5   second prong. The NNA has provided the Court with a declaration and facts subject
   6   to judicial notice, and Turner has at her disposal all information concerning her
   7   alleged harms and her actions that belie those harms, such as her Facebook posts and
   8   LinkedIn profile. But most importantly, Turner’s Opposition neither disputes the
   9   accuracy of the declaration nor argues that discovery is necessary to resolve the
  10   NNA’s Motion. See Opp. at 13 [ECF No. 28]. Further, the discovery requests served
  11   by Plaintiff do not relate to Turner’s lack of standing, but instead concern the NNA’s
  12   website operations, traffic, and other components of its business. See Ex. A.
  13         In short, the Court can decide the NNA’s Motion on the briefing alone, and
  14   no discovery is required. See Garcia v. Welltower OpCo Group, LLC, No.
  15   SACV202250JVSKESX, 2023 WL 8047823, at *2 (C.D. Cal. Aug. 23, 2023) (“The
  16   Court finds no reason as to why discovery is needed prior to the disposition of the
  17   motion to dismiss.”); Hall v. Tilton, No. C 07-3233 RMW (PR), 2010 WL 539679,
  18   at *2 (N.D. Cal. Feb. 9, 2010) (holding a stay was warranted because. “should the
  19   motion be granted, any discovery request would be moot”).
  20         B.      Good Cause Exists to Stay Discovery
  21         The Court need go no further and should stay discovery for the reasons
  22   detailed above. However, Defendant’s request also satisfies Fed. R. Civ. P. 26(c),
  23   which permits a court to stay discovery upon a showing of good cause. Bride, 2022
  24   WL 17184600, at *2 (finding good cause was shown where a motion to dismiss was
  25   pending that would dispose of the entire case and no discovery was necessary to rule
  26   on the pending motion); Bhatia v. Office of U.S. Att’y, N.D. Cal., 2010 WL
  27   11714069, at *4 (N.D. Cal. Dec. 17, 2010) (“[d]efendant has met the Rule
  28   26(c) ”good cause” standard by showing that the discovery is irrelevant to the
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   1   pending motions and will be unnecessary if the case is disposed of at the motion to
   2   dismiss stage.”).
   3         As explained above, Turner’s discovery requests are extraordinarily broad and
   4   seek documents that have no bearing on the issues raised in the NNA’s Motion. The
   5   Court should prevent the NNA from engaging in an expensive and time-consuming
   6   process while it considers the NNA’s Motion. See Arcell v. Google LLC, No. 5:22-
   7   CV-02499-EJD, 2022 WL 16557600, at *1 (N.D. Cal. Oct. 31, 2022) (finding a stay
   8   of discovery was warranted until a motion to dismiss was considered “because it will
   9   promote efficiency and avoid undue burden to Defendants” in the face of broad,
  10   time-consuming and expensive discovery requests). Moreover, class discovery is an
  11   expensive    and     burdensome     process,    and   that     burden   typically    falls
  12   disproportionately on defendants, as it would here, because “class action plaintiffs
  13   typically possess no or very limited discoverable materials, while defendants may
  14   have reams of documents and terabytes of electronic data. Class action plaintiffs thus
  15   have an incentive to seek aggressive discovery (and log a tremendous number of
  16   hours in the process) without fear of reciprocally burdensome discovery.” Chambers
  17   v. Whirlpool Corp., 980 F.3d 645, 666 (9th Cir. 2020). Indeed, courts routinely stay
  18   discovery when a motion to dismiss is pending in putative class actions. See Webb
  19   v. Rejoice Delivers LLC, No. 22-CV-07221-BLF, 2025 WL 722440, at *2 (N.D. Cal.
  20   Mar. 6, 2025) (staying discovery in a putative class action where a motion to dismiss
  21   was pending because “the stay would aid judicial efficiency and conserve the parties’
  22   resources”); Pereda v. Gen. Motors LLC, No. 21-CV-06338-JST, 2022 WL
  23   19692037, at *2 (N.D. Cal. Mar. 15, 2022) (granting a motion to stay in a class action
  24   lawsuit where the plaintiff’s discovery requests would be extraordinary burdensome
  25   and noting that “before embarking on such discovery, it would benefit the parties
  26   and the Court to know what claims are at issue”); Amey v. Cinemark USA Inc., No.
  27   CV1306248MMMCWX, 2013 WL 12143815, at *2 (C.D. Cal. Oct. 18, 2013)
  28   (holding a stay was warranted in a putative class action because “requiring the parties
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   1   to engage in discovery until the pending motions are resolved would not be
   2   efficient.”).
   3          Furthermore, Turner will suffer no harm by a short delay in the discovery
   4   process while the Court rules on Defendant’s motion. See Garcia, 2023 WL
   5   8047823, at *2 (“Moreover, a stay would last no more than several weeks (or sooner
   6   depending on the proposed briefing schedule), and neither party would suffer any
   7   prejudice from a stay.”); Reveal Chat Holdco, 2020 WL 2843369, at *4 (granting a
   8   stay because it “allows all parties to commence discovery with a better understanding
   9   of which claims, if any, they must answer”); Yiren Huang v. Futurewei Techs., Inc.,
  10   2018 WL 1993503, at *4 (N.D. Cal. Apr. 27, 2018) (granting stay pending resolution
  11   of a motion to dismiss that “may narrow the issues and benefit both parties”); see
  12   also Little, 863 F.2d at 685 (upholding stay that “furthers the goal of efficiency for
  13   the court and litigants”).
  14   V.     CONCLUSION
  15          Good cause exists to grant a brief stay of discovery while the Court rules on
  16   Defendant’s motion to dismiss, and Plaintiff will suffer no harm from a short delay.
  17   Accordingly, this Court should grant the NNA’s Motion to Stay.
  18
       Dated: May 13, 2025                    CLARK HILL LLP
  19

  20                                          By: /s/ Myriah V. Jaworski
                                                      Myriah Jaworski
  21
                                              Attorneys for Defendant National Notary
  22                                          Association
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                                              9                CASE NO.: 2:25-CV-00334-FMO-PD
  30                      NOTICE OF MOTION AND RULE 12 MOTION TO DISMISS;
                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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   1         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 11-6.2
   2         The undersigned, counsel of record for Defendant National Notary
   3   Association, certifies that this brief contains 3176 words, which complies with the
   4   word limit of L.R. 11-6.1.
   5

   6   Dated: May 13, 2025                   CLARK HILL LLP
   7
                                             By: /s/ Myriah V. Jaworski
   8                                                 Myriah Jaworski
   9                                         Attorneys for Defendant National Notary
                                             Association
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